             Case 1:22-cv-07404-LGS Document 23 Filed 10/27/22 Page 1 of 5




                                UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF NEW YORK

----------------------------------------------------------- x
FINDIGS, INC.,                                              :
                                                            :
                                    Plaintiff,              :   CASE NO. 1:22-cv-7404-LGS
                                                            :
                  -against-                                 :   CIVIL CASE MANAGEMENT
                                                            :   PLAN AND SCHEDULING
HENSON ORSER, ET AL.,                                       :   ORDER
                                                            :
                                    Defendants.             :
                                                            :
                                                            :
----------------------------------------------------------- x

LORNA G. SCHOFIELD, United States District Judge:

        This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
Civ. P. 26(f)(3).

1.      All parties do not consent to conducting all further proceedings before a United States
        Magistrate Judge, including motions and trial. See 28 U.S.C. § 636(c). The parties are
        free to withhold consent without adverse substantive consequences.

2.      The parties have conferred pursuant to Fed. R. Civ. P. 26(f).

3.      This case is governed by one of the following sets of rules, and the parties’ proposed
        dates in this order have been adjusted accordingly.

        a.       An employment case governed by the Initial Discovery Protocols for Employment
                 cases? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                 [Yes ______ / No __X____]

        b.       A case governed by Local Civil Rule 83.10, Plan for Certain § 1983 Cases
                 Against the City of New York? https://nysd.uscourts.gov/rules.
                 [Yes ______ / No __X____]

        c.       A patent case subject to the Local Patent Rules and the Court’s Individual Rules?
                 https://nysd.uscourts.gov/rules and https://nysd.uscourts.gov/hon-lorna-gschofield
                 [Yes ______ / No __X____]
          Case 1:22-cv-07404-LGS Document 23 Filed 10/27/22 Page 2 of 5




     d.       A wage and hour case governed by Initial Discovery Protocols for Fair Labor
              Standards Act? https://nysd.uscourts.gov/hon-lorna-g-schofield.
              [Yes ______/ No __X____]

4.   Alternative Dispute Resolution/Settlement

     a.       Settlement discussions have not yet taken place, but the parties are considering
              these discussions and the form they would take.

     b.       Counsel for the parties have discussed an informal exchange of information in aid
              of early settlement and have agreed to exchange the following: N/A.

     c.       Counsel for the parties have discussed the use of the following alternate dispute
              resolution mechanisms for use in this case: (i) a settlement conference before a
              Magistrate Judge; (ii) participation in the District’s Mediation Program; and (iii)
              retention of a private mediator. Counsel for the parties propose the following
              alternate dispute resolution mechanism for this case: a settlement conference
              before Magistrate Judge Netburn.

     d.       Counsel for the parties recommend that the alternate dispute resolution
              mechanism designated in paragraph 4(c) be employed at the following point in the
              case (e.g., within the next 60 days; after the deposition of plaintiff is completed
              (specify date); after the close of fact discovery): within the next 60-90 days.

     e.       The use of any alternative dispute resolution mechanism does not stay or
              modify any date in this Order.

5.   No additional parties may be joined after January 20, 2023 without leave of Court.

6.   Amended pleadings may be filed without leave of Court until January 20, 2023.

7.   Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than 14
     days from the date of this Order.

8.   Fact Discovery
                                                                  February 24, 2023
     a.       All fact discovery shall be completed no later than ----------------
                                                                  June 16, 2023.

     b.      Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall be
             served by February 17, 2023.

     c.       Responsive documents shall be produced by March 23, 2023. Do the parties
              anticipate e-discovery? [Yes __X____ / No ______]




2
                          Case 1:22-cv-07404-LGS Document 23 Filed 10/27/22 Page 3 of 5


The deadlines in
paragraphs 8(b)
                     d.       Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by April 14, 2023.
through 8(f) may be
modified by a        e.       Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by May 3, 2023.
written agreement
between the parties,f.        Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by May 15, 2023.
provided that all fact
discovery is         g.       Any of the deadlines in paragraphs 8(b) through 8(f) may be extended by the
completed by                  written consent of all parties without application to the Court, provided that
February 24, 2023.            all fact discovery is completed by the date set forth in paragraph 8(a).

             9.      Expert Discovery

                     a.       Anticipated types of experts if any:
                              Expert on the classification of certain types of real estate technology as a trade
                              secret

                     b.       If you have identified types of experts in question 9(a), all expert discovery shall
                                                           ----------------
                              be completed no later than July   31, 2023.
                                                          April 10, 2023                   March 24, 2023
                     c.                                                                     ----------------
                              If you have identified types of experts in question 9(a), by April   10, 2023 the
                              parties shall meet and confer on a schedule for expert disclosures, including
                              reports, production of underlying documents and depositions, provided that (i)
                              expert report(s) of the party with the burden of proof shall be due before those of
                              the opposing party’s expert(s); and (ii) all expert discovery shall be completed by
                              the date set forth in paragraph 9(b).

             10.     This case is to be tried to a jury.

             11.     Counsel for the parties have conferred and their present best estimate of the length of trial
                     is 5-7 days.

             12.     Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
                     Fed. R. Civ. P. 26(f)(3), are set forth below:

             13.     Status Letters and Conferences
                                December 27, 2022
                     a.         -------------------
                            By March     30, 2023, the parties shall submit a joint status letter, as outlined in
                            Individual Rule IV.A.2.
                                March 10, 2023
                     b.     By ----------------
                                May 15, 2023, the parties shall submit a joint status letter, as outlined in
                            Individual Rule IV.A.2 and, in the event that they have not already been referred
                            for settlement discussions, shall also advise the Court whether or not they request
                            a referral for settlement discussions as provided in Paragraph 4(c) above.




             3
            Case 1:22-cv-07404-LGS Document 23 Filed 10/27/22 Page 4 of 5


                    April 26, 2023 at 4:10 p.m.
       c.           ------------------------------------
                On August    15, 2023 at 11:00 A.M., a pre-motion conference will be held for any
                anticipated dispositive motions, provided:

                   i. A party wishing to file a summary judgment or other dispositive motion
                      shall file a pre-motion letter at least two weeks before the conference and
                      in the form provided in the Court’s Individual Rule III.A.1. Any party
                      wishing to oppose shall file a responsive letter as provided in the same
                      Individual Rule. The motion will be discussed at the conference. To join
                      the conference, the parties shall call (888) 363-4749 and use Access Code
                      558-3333. The time of the conference is approximate, but the parties shall
                      be ready to proceed at that time.

                  ii. If no pre-motion letter is timely filed, this conference will be canceled
                      and the matter placed on the Court’s trial-ready calendar. The parties
                      will be notified of the assigned trial-ready date and the filing deadlines for
                      pretrial submissions. The parties are warned that any settlement
                      discussions will not stay pretrial deadlines or the trial date.

        This Order may not be modified or the dates herein extended, except as provided in
paragraph 8(g) or by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein, except as provided in paragraph 8(g), shall be made in a
written application in accordance with the Court’s Individual Rules and shall be made no less
than 2 business days prior to the expiration of the date sought to be extended.

        Notwithstanding any other rules governing discovery or other deadlines, the parties shall
follow the deadlines set forth herein unless expressly ordered otherwise by the Court.

        The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c) and
13(a)-(c) into the Court’s calendar.


       SO ORDERED.
       October 27, 2022
Dated: _________________
       New York, New York

                                                      ____________________________________
                                                              LORNA G. SCHOFIELD
                                                             United States District Judge
Counsel for the Parties:

CROWELL & MORING LLP                                   LEWIS BRISBOIS BISGAARD &
                                                       SMITH LLP
By: /s/ Joachim B. Steinberg________
Joachim B. Steinberg                                   By: /s/ Adam E. Collyer____________




4
         Case 1:22-cv-07404-LGS Document 23 Filed 10/27/22 Page 5 of 5




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5
